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 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
   akebeh@DanningGill.com
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7
                           UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                    LOS ANGELES DIVISION
10
   In re                                         Case No. 2:21-bk-16674-ER
11
   JINZHENG GROUP (USA) LLC,                     Chapter 11
12
                Debtor and Debtor in             DEBTORS’ NOTICE OF RESPONSE AND
13              Possession                       RESPONSE RE FEE APPLICATIONS OF:
                                                 (1) PACHULSKI STANG ZIEHL &
14                                               JONES LLP; (2) DANNING, GILL,
                                                 ISRAEL & KRASNOFF, LLP; (3) SHIODA
15                                               LANGLEY & CHANG LLP [DOC. NOS.
                                                 403, 407, 411]; DECLARATION OF ZEV
16                                               SHECHTMAN IN SUPPORT OF
                                                 RESPONSE
17
                .                                Date:     December 7, 2022
18                                               Time:     10:00 a.m.
                                                 Crtrm.: 1568
19                                                         255 East Temple Street
                                                           Los Angeles, California 90012
20

21            TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY

22 JUDGE, AND INTERESTED PARTIES:

23            PLEASE TAKE NOTICE THAT:

24            Debtor and Debtor in Possession, Jinzheng Group (USA) LLC (the “Debtor”), hereby

25 responds with respect to the pending fee applications (doc. nos. 403, 407, 411) of: (1) Pachulski

26 Stang Ziehl & Jones LLP; (2) Danning, Gill, Israel & Krasnoff, LLP (“Danning Gill”); and (3)

27 Shioda Langley & Chang LLP (collectively, the “Professionals”), as follows:

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 1            The Debtor, through its counsel, Danning Gill, has communicated with the other

 2 Professionals, and reports as follows:

 3            Danning Gill is working with the other Professionals towards a stipulation which would be

 4 submitted to the Court prior to the December 7, 2022 hearing on professional fee applications and

 5 would:

 6            1)       Reserve parties’ rights to object to fees and expenses of the Professionals at a later

 7 date, and avoid the need to file an objection to the fee applications presently before the Court; and

 8            2)       Propose distributions to the Professionals in amounts to be agreed to by such

 9 Professionals and the Debtor, subject to Court approval.

10            This response is supported by the attached declaration of Zev Shechtman.

11            A reply hereto, if any, must be filed and served at least 7 days before the hearing.

12

13 DATED: November 23, 2022                        DANNING, GILL, ISRAEL & KRASNOFF, LLP

14

15
                                                   By:         /s/ Zev Shechtman
16                                                       ZEV SHECHTMAN
                                                         General Bankruptcy Counsel for Jinzheng Group
17                                                       (USA) LLC, Debtor and Debtor in Possession
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 1                                 DECLARATION OF ZEV SHECHTMAN
 2            I, Zev Shechtman, declare as follows:

 3            1.       I am an attorney duly admitted to practice before this Court. I am the principal of a

 4 professional corporation that is a partner of Danning, Gill, Israel & Krasnoff, LLP, General

 5 Bankruptcy Counsel for Jinzheng Group (USA) LLC, Debtor and Debtor in Possession.

 6            2.       I have personal knowledge of the facts set forth herein, and if called as a witness, I

 7 could and would competently testify thereto. I make this declaration in support of the above

 8 Response Re Interim Fee Applications Of: (1) Pachulski Stang Ziehl & Jones Llp; (2) Danning,

 9 Gill, Israel & Krasnoff, Llp; (3) Shioda Langley & Chang Llp [doc. Nos. 403, 407, 411].

10            3.       The facts stated in the above response are true and correct.

11

12            I declare under penalty of perjury under the laws of the United States of America that the

13 foregoing is true and correct.

14            Executed on this 23rd day of November, 2022, at Los Angeles, California.

15

16                                                           /s/ Zev Shechtman
                                                             Zev Shechtman
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTORS’ NOTICE OF RESPONSE AND
RESPONSE RE FEE APPLICATIONS OF: (1) PACHULSKI STANG ZIEHL & JONES LLP; (2) DANNING, GILL,
ISRAEL & KRASNOFF, LLP; (3) SHIODA LANGLEY & CHANG LLP [DOC. NOS. 403, 407, 411]; DECLARATION OF
ZEV SHECHTMAN IN SUPPORT OF RESPONSE will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
November 23, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On (date)                                 , I served the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  November 23, 2022                       Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

       Donna C Bullock              donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
       Steven P Chang heidi@spclawoffice.com,
        schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.
        cincompass.com;changsr75251@notify.bestcase.com
       Michael F Chekian               mike@cheklaw.com, chekianmr84018@notify.bestcase.com
       Heidi M Cheng heidi@slclawoffice.com,
        assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com
       Susan Titus Collins             scollins@counsel.lacounty.gov
       Nicholas S Couchot              ncouchot@buchalter.com, docket@buchalter.com;marias@buchalter.com
       Jeffrey W Dulberg              jdulberg@pszjlaw.com
       Oscar Estrada            oestrada@ttc.lacounty.gov
       Danielle R Gabai             dgabai@danninggill.com, dgabai@ecf.courtdrive.com
       Runmin Gao             ivy.gao@aalrr.com, alicia.mcmaster@aalrr.com
       Richard Girgado              rgirgado@counsel.lacounty.gov
       Brian T Harvey             bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com
       M. Jonathan Hayes jhayes@rhmfirm.com,
        roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rh
        mfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;rus
        s@rhmfirm.com
       Teddy M Kapur               tkapur@pszjlaw.com, mdj@pszjlaw.com
       Alphamorlai Lamine Kebeh                     akebeh@danninggill.com
       Peter A Kim           peter@pkimlaw.com, peterandrewkim@yahoo.com
       Christopher J Langley chris@slclawoffice.com,
        omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
       Paul J Leeds          Pleeds@fsl.law, ssanchez@fsl.law
       Benjamin R Levinson                 ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
       Damian J. Martinez               damian.martinez@aalrr.com, julissa.ruiz@aalrr.com
       Eric A Mitnick            MitnickLaw@gmail.com, mitnicklaw@gmail.com
       Giovanni Orantes go@gobklaw.com, gorantes@orantes-
        law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.
        bestcase.com
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                                           Main Document      Page 6 of 6
       Donald W Reid              don@donreidlaw.com, ecf@donreidlaw.com
       Matthew D. Resnik Matt@rhmfirm.com,
        roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;rebeca@
        rhmfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
       Peter J Ryan           ryan@floresryan.com, schneider@floresryan.com
       Allan D Sarver            ADS@asarverlaw.com
       Zev Shechtman zshechtman@DanningGill.com,
        danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
       David Samuel Shevitz david@shevitzlawfirm.com,
        shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
       John N Tedford jtedford@DanningGill.com,
        danninggill@gmail.com;jtedford@ecf.courtdrive.com
       United States Trustee (LA)                 ustpregion16.la.ecf@usdoj.gov
       Hatty K Yip           hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
